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                 IN THE UNITED STATES DISTRICT COURT
                  DISTRICT OF UTAH, CENTRAL DIVISION
______________________________________________________________________________

LINDA ACHILLES,                              COMPLAINT

       Plaintiff,                            (Jury Trial Demanded)
v.

SYNCHRONY BANK,                              Case No.:

        Defendant.

      COMES NOW, Plaintiff, Linda Achilles (hereinafter “Plaintiff”), by and

through the undersigned counsel, and sues Defendant, Synchrony Bank (hereinafter

“Defendant”), and in support thereof respectfully alleges violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                INTRODUCTION

      1.      The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”




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      2.      “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740 (2012).

      3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we

want to rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator

Hollings presumably intended to give telephone subscribers another option: telling

the auto-dialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F.

3d 1242 (11th Cir. 2014).

      4.      According to the Federal Communications Commission (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are

thousands of complaints to the FCC every month on both telemarketing and

robocalls. The FCC received more than 215,000 TCPA complaints in 2014." Fact

Sheet: Wheeler Proposal to Protect and Empower Consumers Against Unwanted

Robocalls, Texts to Wireless Phones, Federal Communications Commission, (May

27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.




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                          JURISDICTION AND VENUE

       5.     Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involves violations of the TCPA.

       6.     Subject matter jurisdiction, federal question jurisdiction, for purposes

of this action is appropriate and conferred by 28 U.S.C. § 1331, which provides

that the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States; and this action

involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin.

Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (11th Cir. 2014).

      7.      Defendant’s principal place of business is in Draper, Utah.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(1), as

it is the judicial district in the State where the Defendant resides.

                            FACTUAL ALLEGATIONS

      8.      Plaintiff is a natural person, and citizen of the State of New Jersey,

residing in Gloucester County, New Jersey.




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      9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A.,

755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d

1242 (11th Cir. 2014).

      10.     Defendant is a corporation with its principal place of business located

at 170 West Election Road, Suite 125, Draper, Utah 84020.

      11.     Defendant called Plaintiff approximately one hundred (100) times in

an attempt to collect debts associated with two credit card accounts.

      12.     Upon information and belief, some or all of the calls Defendant made

to Plaintiff’s cellular telephone number were made using an “automatic telephone

dialing system” which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator (including but not limited to

a predictive dialer) or an artificial or pre-recorded voice; and to dial such numbers

as specified by 47 U.S.C § 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will

testify that she knew it was an auto-dialer because of the vast number of calls she

received and because she heard a pause when she answered her phone before a

voice came on the line (which is a common indicator of the use of an ATDS).

Furthermore, Plaintiff received pre-recorded messages from Defendant.




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      13.    Plaintiff is the subscriber, regular user and carrier of the cellular

telephone number (856) ***-9398 and was the called party and recipient of

Defendant’s calls.

      14.    Defendant placed an exorbitant number of automated calls to

Plaintiff’s cellular telephone (856) ***-9398 in an attempt to collect on credit card

accounts.

      15.    Automated calls from Defendant are initiated from phone numbers

including, but not limited to: 407-517-9759, 770-239-0719, and 330-433-4419; and

when those numbers are dialed, an artificial voice answers and identifies the

numbers as belonging to Defendant.

      16.    On several occasions since the calls began in or around October 2018,

Plaintiff instructed Defendant’s agent(s) to stop calling her cellular telephone.

      17.    For example, soon after the Defendant’s campaign of unwanted calls

began, Plaintiff advised Defendant’s agent that she was “trying to catch up” and to

please stop calling. However, the Defendant’s campaign of automated calls

continued.

      18.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice to individuals just as they did to

Plaintiff’s cellular telephone in this case.

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      19.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s

cellular telephone in this case, with no way for the consumer, Plaintiff, or

Defendant, to remove the number.

      20.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do

not wish to be called.

      21.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

      22.    Defendant has numerous complaints against it across the country

asserting that its automatic telephone dialing system continues to call despite being

requested to stop.

      23.    Defendant has had numerous complaints against it from consumers

across the country asking to not be called, however Defendant continues to call

these individuals.

      24.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant’s call list.

      25.    Defendant has a corporate policy to harass and abuse individuals

despite actual knowledge the called parties do not wish to be called.

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       26.      Not one of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       27.      Defendant willfully and/or knowingly violated the TCPA with respect

to Plaintiff.

       28.      From each and every call placed without express consent by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion

of privacy and the intrusion upon her right of seclusion.

       29.      From each and every call without express consent placed by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of the

occupation of her cellular telephone line and cellular telephone by unwelcome

calls, making the cellular telephone unavailable for legitimate callers or outgoing

calls while the cellular telephone was ringing from Defendant’s calls.

       30.      From each and every call placed without express consent by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of

unnecessary expenditure of her time. For calls she answered, the time she spent on

the call was unnecessary as she repeatedly asked for the calls to stop. Even for

unanswered calls, Plaintiff had to waste time to unlock the cellular telephone and

deal with missed call notifications and call logs that reflect the unwanted calls.



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This also impaired the usefulness of these features of Plaintiff’s cellular telephone,

which are designed to inform the user of important missed communications.

      31.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and

annoyance to the Plaintiff. For calls that were answered, Plaintiff had to go to the

unnecessary trouble of answering them. Even for unanswered calls, Plaintiff had to

waste time to unlock the cellular telephone and deal with missed call notifications

and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular telephone, which are designed to inform the

user of important missed communications.

      32.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

      33.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space

in Plaintiff’s cellular telephone or network.

      34.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s

chattel, namely her cellular telephone and her cellular telephone services.

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       35.    As a result of the calls described above, Plaintiff suffered an invasion

of privacy. Plaintiff was also affected in a personal and individualized way by

stress, embarrassment, frustration, annoyance, and aggravation.

                                       COUNT I
                                (Violation of the TCPA)

       36.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through

thirty-five (35) as if fully set forth herein.

       37.    Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone

after Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

       38.    Defendant repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or pre-

recorded or artificial voice without Plaintiff’s prior express consent in violation of

federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Synchrony Bank for statutory damages, punitive

damages, actual damages, treble damages, enjoinder from further violations of

these parts and any other such relief the court may deem just and proper.




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               Respectfully submitted,


                      /s/ Jon H. Rogers______________
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